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                                 UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

 MORTEZA SHAFINURY,               §
 Plaintiff                        §
                                  §
 V.                               § CIVIL ACTION NO. 4:19-CV-00038
                                  §
 AMRISC, LLC, ET AL.,             §
 Defendant                        §
                                  §
          MEDIATOR’S REPORT PURSUANT TO LOCAL RULE 16.4.K(2)

        A mediation session was conducted in Houston, Texas on April 18, 2019 and

with subsequent follow-up.              Paul J. Van Osselaer ("Mediator") served as mediator.

Pursuant to Local Rule 16.4.K(2), the Mediator reports as follows:

        1.       Type of Case:                         Insurance Coverage

        2.       ADR Method Used:                      Mediation

        3.       Result:                               The case settled.

        4.       Fees and expenses paid to ADR Provider: $7,200, including expenses,

divided equally among the three mediation parties.

        5.       Attendees: The following counsel and party representatives attended:

                  a. For Plaintiff
                        Counsel:
                               Andrew Slania
                               RAIZNER SLANIA LLP
                        Party Representative:
                               Morteza Shafinury




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                 b. For Defendant AmRisc, LLC
                       Counsel:
                              Scott Shanes
                              CLARK HILL STRASBURGER LLP
                       Party Representative:
                              via phone (with permission)

                 c. For Defendant Certain Underwriters
                       Counsel:
                              W. Montgomery Briscoe
                              EGGLESTON & BRISCOE LLP
                       Party Representative:
                              Vicki Burns

Dated: May 9, 2019.
                                           Respectfully submitted,




                                           __________________________________________
                                           Paul J. Van Osselaer
                                           VAN OSSELAER DISPUTE RESOLUTION, PLLC
                                           2305 Cheswick Court
                                           Austin, TX 78746
                                           (512) 593-5104
                                           Paul@VanOsselaerADR.com
                                           ADR PROVIDER (PRID 1441)


                                     CERTIFICATE OF SERVICE

       I certify that on May 9, 2019 I electronically submitted the forgoing document to
the Clerk of the Court, using the electronic case files system of the Court. The electronic
case files system sent a "Notice of Electronic Filing" to the individuals who have
consented in writing to accept this Notice as service by electronic means.




                                                   __________________________________________
                                                   Paul J. Van Osselaer


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